Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 1 Page
                                                             of 41 1PageID
                                                                     of 41 #: 2381




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                                            EXHIBIT 1
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 2 Page
                                                             of 41 2PageID
                                                                     of 41 #: 2382

                                            Settlement Agreement in Gilmore et al. v. Monsanto


                      CLASS ACTION SETTLEMENT AGREEMENT

        This Settlement Agreement and Release (the “Agreement” or “Settlement”), effective upon
the date of the signatories below, is made by and between Monsanto Company and Scott Gilmore,
James Weeks, Paul Taylor, Sherry Hanna, Amanda Boyette, Julio Ezcurra, Anthony Jewell, and
Kristy Williams, on behalf of themselves and the Settlement Class (defined below) (collectively,
the “Parties”), in the matter Gilmore et al. v. Monsanto Company, Case No. 1:20-cv-01085-MN
(D. Del.) (“the Action”).

        WHEREAS, Class Counsel commenced numerous Related Actions against Monsanto and
certain retailers regarding alleged false advertising and consumer fraud in connection with
Monsanto’s Roundup® Products beginning in July 2019;

       WHEREAS, Class Representative Scott Gilmore commenced the Action for violation of
Delaware Consumer Fraud Act against Monsanto in the United States District Court for the District
of Delaware on August 19, 2020;

         WHEREAS, the Parties disagree on the merits and viability of the Claims set forth in the
Action’s complaint, Monsanto denies any and all liability or wrongdoing, and Plaintiffs believe
that all Claims are viable;

        WHEREAS, the Parties have engaged in both informal and formal discovery in various
actions but have not yet briefed class certification;

        WHEREAS, the Parties engaged in a mediation session before retired United States
Magistrate Judge Diane Welsh to determine whether a settlement of the Action could be reached
and, at the end of the more than 14-hour mediation session, the Parties reached an agreement in
principle;

       WHEREAS, Plaintiffs have concluded that it is in the best interest of the Class to settle
the Action on the terms set forth in this Agreement in order to avoid further expense,
inconvenience, and delay, and on the basis of other factors bearing on the merits of settlement;

        WHEREAS, Monsanto enters into this Agreement in order to avoid further expense,
inconvenience, delay, and interference with business operations, and to dispose of the Action and
to put to rest all controversy concerning the Claims that have been or could have been asserted;

         WHEREAS, the Parties understand, acknowledge, and agree that the execution of this
Agreement constitutes the settlement and compromise of disputed Claims. This Agreement, and
all related documents, shall not be construed as any admission or concession by Monsanto or by
any Party of any fault, liability, wrongdoing, or damage whatsoever. Preliminary certification of
the Settlement Class shall not be deemed a concession that certification of a litigation class is
appropriate, nor would Monsanto be precluded from challenging class certification in further
proceedings in the Action or in any other action if the Settlement Agreement is not finalized or
finally approved. This Agreement is inadmissible as evidence against any Party except to enforce
the terms of the Agreement and is not an admission of wrongdoing or liability on the part of any


                                          Page 1 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 3 Page
                                                             of 41 3PageID
                                                                     of 41 #: 2383

                                               Settlement Agreement in Gilmore et al. v. Monsanto


Party to this Agreement. It is the Parties’ desire and intention to effect a full, complete, and final
settlement and resolution of all existing disputes and Claims as set forth in the Action.

        WHEREAS, the Settlement Class (as defined below) and Monsanto wish to resolve, on a
nationwide basis, any and all past, present, and future Claims the Settlement Class has or may have
against the Released Persons of any nature whatsoever, as they relate to the allegations in the
Action, and to that end, the Settlement Class and Monsanto intend that the United States District
Court for the District of Delaware conditionally certify the Settlement Class for settlement, and
that this Agreement will encompass and end all related pending, threatened, or possible litigation
and/or Claims by any Party against the Released Persons;

   NOW, THEREFORE, the Parties, for good and valuable consideration, the sufficiency of
which is hereby acknowledged, understand and agree to the following terms and conditions:

   A. Definitions

      As used in this Agreement, the following terms enclosed within quotation marks have the
meanings specified below:

       1.     “Action” means the matter Gilmore et al. v. Monsanto Company, Case
No. 1:20-cv-01085-MN (D. Del.).

        2.      “Affiliate” means, with respect to any Person, any other Person that, directly or
indirectly, through one or more intermediaries, controls, or is controlled by, or is under common
control with, such Person, where “control” means the possession, directly or indirectly, of the
power to direct or cause the direction of the management and policies, whether through the
ownership of voting shares, by contract, or otherwise.

          3.   “Agreement” means this Settlement Agreement and Release.

          4.   “Second Amended Complaint” means the Second Amended Complaint in the
Action.

         5.     “Approved Claim” means a claim approved by the Claims Administrator, according
to the terms of this Agreement.

       6.     “Authorized Claimant” means any Claimant who has timely and completely
submitted a Claim Form that has been reviewed and validated by the Claims Administrator.

        7.     “Boyette” means the plaintiff in the Related Action Boyette v. Lowe’s Companies,
Inc. and one of the named plaintiffs in the Second Amended Complaint, Amanda Boyette.

         8.      “Claims” means past, present, and future claims, counterclaims, actions, rights,
remedies, causes of action, liabilities, suits, demands, damages, losses, payments, judgments,
verdicts, debts, dues, sums of money, liens, costs and expenses (including, without limitation,
attorneys’ fees and costs), accounts, reckonings, bills, covenants, contracts, controversies,
agreements, obligations, or promises, including any of the foregoing for equitable or injunctive
relief, direct damages, indirect damages, consequential damages, incidental damages, punitive or

                                            Page 2 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 4 Page
                                                             of 41 4PageID
                                                                     of 41 #: 2384

                                              Settlement Agreement in Gilmore et al. v. Monsanto


exemplary damages, statutory and other multiple damages or penalties of any kind, or any other
form of damages or relief whatsoever, and whether based upon breach of contract, warranty or
covenant, tort, negligence, strict liability, gross negligence, recklessness, willful or wanton
conduct, malice, oppression, conscious disregard, joint and several liability, guarantee,
contribution, reimbursement, subrogation, indemnity, defect, failure to warn, fault,
misrepresentation, common-law fraud, statutory consumer fraud, quantum meruit, breach of
fiduciary duty, violation of statutes or administrative regulations, and/or any other legal (including
common-law), foreign, statutory, equitable, or other theory or right of action, whether in law or in
equity, fixed, contingent or noncontingent, known or unknown, discovered or undiscovered,
suspected or unsuspected, foreseen or unforeseen, matured or unmatured, accrued or unaccrued,
ripened or unripened, perfected or unperfected, choate or inchoate, developed or undeveloped,
liquidated or unliquidated, now recognized by law or that may be created or recognized in the
future by statute, regulation, or judicial decision or in any other manner, and whether direct,
representative, derivative, class, or individual in nature, in any forum that any Person had, has, or
may have in the future.

      9.     “Claim for Relief” means a request for relief submitted by or on behalf of a Class
Member on a Claim Form filed with the Claims Administrator in accordance with the terms of this
Agreement.

       10.     “Claimant” means any Class Member who submits a Claim for benefits as
described in Section I of this Agreement.

       11.      “Claim Form” means the document to be submitted by Claimants seeking benefits
pursuant to this Agreement.

       12.     “Claims Administrator” means the company approved by the Court to provide the
Class Notice and to administer the claims process. The parties anticipate that Postlethwaite &
Netterville, APAC will be the Claims Administrator.

        13.     “Claims Administration Expenses” means the fees charged and expenses incurred
by the Claims Administrator in completing the Class Notice and claims administration process set
forth in this Agreement.

        14.    Claims Deadline” means the date by which all Claim Forms must be postmarked
or received by the Claims Administrator to be considered timely. The Claims Deadline shall end
one hundred twenty (120) days after the Preliminary Approval Date.

       15.     “Class Member(s)” means all Persons that are members of the Settlement Class.

       16.      “Class Counsel” means the following attorneys of record in the Action: Gillian L.
Wade, Sara D. Avila, and Marc A. Castaneda of Milstein, Jackson, Fairchild & Wade, LLP and any
additional attorneys at those firms assisting in the representation of the Class in this Action.

       17.     “Class Counsel’s Expenses” means the amount awarded by the Court for any costs
or expenses, other than the Class Counsel’s Fees, incurred by Class Counsel, Plaintiffs’ Counsel,
or Class Representatives for prosecution of the Action and Related Actions.


                                            Page 3 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 5 Page
                                                             of 41 5PageID
                                                                     of 41 #: 2385

                                                  Settlement Agreement in Gilmore et al. v. Monsanto


       18.    “Class Counsel’s Fees” means the amount awarded as attorneys’ fees to Class
Counsel by the Court for Class Counsel’s and Plaintiffs’ Counsel’s prosecution of the Action and
Related Actions.

       19.     “Class Notice” means, collectively, the “Notice of Class Action Settlement” and the
“Publication Notice,” substantially in the forms to be agreed upon by the Parties and that will be
submitted to the Court in connection with the Motion for Preliminary Approval of Settlement.

       20.     “Class Period” shall mean and refer to a time period based upon the state or territory
where each Class Member made his or her purchases of the Products. A list of the applicable
periods for each state, district, or territory included in this Agreement is appended hereto as Exhibit
B.

      21.       “Class Released Claims” means the Claims released by the Class Members via this
Agreement.

      22.     “Class Representatives” means the named plaintiffs in the Action—Gilmore,
Weeks, Taylor, Hanna, Boyette, Ezcurra, Jewell, and Williams—and any other individuals who
may be added as plaintiffs to any amended pleading.

        23.     “Court” means the United States District Court for the District of Delaware.

        24.     “Default Payment Amounts” has the meaning set forth in Paragraph F.1.

        25.      “Effective Date” means the date on which the judgment approving this Agreement
becomes final. For purposes of this definition, the Final Settlement Approval Order and Judgment
shall become final at the latest date of the following dates: (i) if no appeal from the Final Settlement
Approval Order and Judgment is filed, the date of expiration of the time for filing or noticing any
appeal from the Final Settlement Approval Order and Judgment; or (ii) if an appeal from the Final
Settlement Approval Order and Judgment is filed, and the Final Settlement Approval Order and
Judgment is affirmed or the appeal dismissed (including, if necessary, after the resolution of any
petition for rehearing or rehearing en banc and, if applicable, the conclusion of any rehearing
proceedings), the date that the deadline to file a petition for certiorari has passed; or (iii) if a petition
for certiorari seeking review of the appellate judgment is filed and denied, the date the petition is
denied; or (iv) if a petition for writ of certiorari is filed and granted, the date of final affirmance or
final dismissal of the review proceeding initiated by the petition for a writ of certiorari.

        26.   “Ezcurra” means the plaintiff in the Related Action, Ezcurra v. Monsanto Co. and
one of the named plaintiffs in the Second Amended Complaint, Julio Ezcurra.

      27.     “Final Settlement Hearing” or “Final Approval Hearing” means the hearing to be
conducted by the Court to determine whether to enter the Final Settlement Approval Order and
Judgment.

        28.    “Final Settlement Approval Order and Judgment” or “Judgment” means the Court’s
final order approving the Agreement; entering judgment; dismissing the Action with prejudice;
discharging the Released Parties of and from all further liability for the Released Claims; and
permanently barring and enjoining the Releasing Persons from instituting, filing, commencing,

                                               Page 4 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 6 Page
                                                             of 41 6PageID
                                                                     of 41 #: 2386

                                                Settlement Agreement in Gilmore et al. v. Monsanto


prosecuting, maintaining, continuing to prosecute, directly or indirectly, as an individual or
collectively, representatively, derivatively, or on behalf of them, or in any other capacity of any
kind whatsoever, any action in any state court, any federal court, before any regulatory body or
authority, or in any other tribunal, forum, or proceeding of any kind, against the Released Persons
that asserts any Released Claims.

        29.     “Gilmore” means the plaintiff in the Action, Scott Gilmore.

      30.      “Hanna” means the plaintiff in the Related Action Hanna v. Walmart and one of the
named plaintiffs in the Second Amended Complaint, Sherry Hanna.

        31.   “Jewell” means the plaintiff in the Related Action Jewell v. Walmart, Inc. and one
of the named plaintiffs in the Second Amended Complaint, Anthony Jewell.

        32.     “Monsanto” means Monsanto Company and Bayer AG and each and all of their
respective past, present, or future, direct or indirect, predecessors, successors, parents, subsidiaries,
Affiliates, and divisions; and any past, present, or future officer, director, shareholder, owner,
employee, partner, trustee, representative, agent, servant, insurer, attorney, predecessor, successor,
or assignee of any of the above.

        33.     “Notice Period” means the notice period to potential Class Members. Class Notice
shall run for a period of one hundred (100) days and shall commence within fourteen (14) days
after the Preliminary Approval Date.

        34.   “Notice Plan” means the plan for dissemination of the Class Notice to be designed
by the Claims Administrator and agreed upon by the Parties and that will be submitted to the Court
in connection with the Motion for Preliminary Approval of Settlement.

        35.     “Objection Deadline” means the first business day on or after seven (7) calendar
days from the filing of the Motion for Final Approval of the Settlement and Application for Fees,
or such other date as the Court may order in its Preliminary Approval Order. It is the date by which
the Class Members must file with the Court and serve on all Parties (i) a written statement objecting
to any terms of the Settlement or to Class Counsel’s Fees and (ii) a written notice of intention to
appear if they expect to present in person at the Final Approval Hearing objections to any terms of
the Settlement or to Class Counsel’s Fees.

        36.     “Opt-Out Deadline” means one hundred twenty (120) days after the Preliminary
Approval Date (to be concurrent with the Claims Deadline), or such other date as the Court may
order in its Preliminary Approval Order.

     37.    “Other Counsel” means any other attorney or attorneys, representing any Class
Member, who are not Class Counsel or Plaintiffs’ Counsel.

        38.     “Party” or “Parties” means Plaintiffs, to include the Class Members, and Monsanto.

        39.     “Person” means any individual, corporation, partnership, association, or any other
type of legal entity.


                                             Page 5 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 7 Page
                                                             of 41 7PageID
                                                                     of 41 #: 2387

                                             Settlement Agreement in Gilmore et al. v. Monsanto


        40.    “Personal Injury Claims” shall mean Claims that assert a right to recover damages
for the actual physical injury or illness of a natural person. It is expressly contemplated that a
cause of action could include both Claims that are Personal Injury Claims and Claims that are not
Personal Injury Claims.

       41.     “Plaintiffs” means Gilmore, Weeks, Taylor, Hanna, Boyette, Ezcurra, Jewell,
Williams, and the other Class Members.

       42.     “Plaintiffs’ Counsel” means the following additional counsel for Plaintiffs:
(1) Rhodunda Williams & Kondraschow, LLC; (2) The Law Offices of Howard Rubinstein;
(3) Southern Atlantic Law Group, PLLC; (4) The Casey Law Firm, LLC; (5) Sheehan &
Associates, P.C.; and (6) Harrelson Law Firm, P.A.

        43.     “Preliminary Approval Date” means the date of entry of the Court’s order granting
preliminary approval of the Agreement substantially in the form of the Preliminary Approval Order
that will be submitted in connection with the Motion for Preliminary Approval of Settlement.

       44.     “Products” means and includes the list of Products appended hereto as Exhibit A.

       45.     “Related Actions” include the following actions:

             a. Gilmore v. Monsanto Co. et al., No. 3:19-cv-1123 (D. Or.)

             b. Waters v. Home Depot U.S.A., Inc., No. 50-2019-CC-009140 (Cnty. Ct. 15th Cir.
                in and for Palm Beach Cnty., Fla.)

             c. Lamerson v. Walmart Stores, Inc., No. 50-2019-CC-009139 (Cnty. Ct. 15th Cir.
                in and for Palm Beach Cnty., Fla.)

             d. Weeks v. Home Depot U.S.A., Inc., No. 2:19-cv-6780 (C.D. Cal.)

             e. Weeks v. Lowe’s Home Centers, LLC, No. 2:19-cv-6828 (C.D. Cal.)

             f. Jewell v. Walmart Inc., No. 4:19-cv-4088 (W.D. Ark.)

             g. Shelly v. Target Corp., No. 50-2019-CC-010718 (Cnty. Ct. 15th Cir. in and for
                Palm Beach Cnty., Fla.)

             h. Biddle v. Lowe’s Home Centers, LLC, No. 50-2019-CC-011405 (Cnty. Ct. 15th
                Cir. in and for Palm Beach Cnty., Fla.)

             i. Morley v. Ace Hardware Corp., No. CONO-19-01064 (Cnty. Ct. 2d Cir. in and
                for Broward Cnty., Fla.)

             j. Boyette v. Lowe’s Companies, Inc., No. 4:19-cv-04119 (W.D. Ark.)

             k. Thomas v. Costco Wholesale Corp., No. 1:19-cv-05278 (E.D.N.Y.)

             l. Ezcurra v. Monsanto Co., No. 9:20-cv-80524 (S.D. Fla.)

                                          Page 6 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 8 Page
                                                             of 41 8PageID
                                                                     of 41 #: 2388

                                                Settlement Agreement in Gilmore et al. v. Monsanto


              m. Fagundes v. The Home Depot, No. 0:20-cv-61035 (S.D. Fla.)

              n. Taylor v. Costco Wholesale Corp., No. 20-cv-00655 (E.D. Cal.)

              o. Hanna v. Walmart Inc., No. 5:20-cv-01075 (C.D. Cal.)

              p. Williams v. Lowe’s Home Centers, LLC, No. 5:20-cv-01356 (C.D. Cal.)

              q. Hanna v. Walmart Inc., No. CIV SB 2100789 (Cal. Sup. Ct.)

              r. Gregorio v. Home Depot U.S.A., Inc., No CACE-21-002428 (2d Cir. in and for
                 Broward Cnty., Fla.)

The term “Related Actions” is meant only as a shorthand to refer to these cases in the course of
this Agreement and is not intended, and shall not be construed, to limit in any way the scope of the
releases provided by the Agreement or the effect of this Agreement in actions other than the Related
Actions. It is expressly contemplated that certain actions not included within the definition of
Related Actions contain Claims that shall be released by virtue of this Agreement.

        46.     “Related Parties” means the past, present, and future manufacturers, formulators,
distributors, marketing agents, commissionaires, resellers, Retailers, clinical researchers, agents,
licensees, contractors, joint ventures, joint venturers, and consultants of or with respect to the
Products, and any and all past, present, or future suppliers of materials, components, and services
used in the development, registration, formulation, manufacture, distribution, handling, sale, or
marketing of the Products, including the labeling and packaging thereof, and each and all of their
respective past, present, or future, direct or indirect, predecessors, successors, parents, subsidiaries,
Affiliates, divisions, joint ventures, and joint venturers; and any past, present, or future officer,
director, shareholder, owner, employee, partner, trustee, representative, agent, servant, insurer,
attorney, predecessor, successor, or assignee of any of the above.

        47.     “Released Persons” means, respectively, Monsanto; Scotts; any distributors and/or
Retailers of the Products; Related Parties; any Persons that are currently, may in the future be, or
have in the past been, marketing, advertising, distributing, selling, or reselling the Products and
any past, current, or future parent companies (including intermediate parents and ultimate parents)
and subsidiaries, Affiliates, predecessors, successors, and assigns, and each of their respective past,
present, or future officers, directors, employees, agents, members, franchisees, franchisors,
attorneys, insurers, stockholders, representatives, heirs, administrators, executors, successors, and
assigns; and any other Person acting on behalf of Monsanto, Scotts, or any other Released Person.

        48.    “Releasing Persons” means Gilmore, Weeks, Taylor, Hanna, Boyette, Ezcurra,
Jewell, Williams, and each Class Member and any Person claiming by or through each Class
Member, or on their behalf, including, but not limited to, spouses, children, wards, heirs, devisees,
legatees, invitees, employees, associates, co-owners, attorneys, agents, administrators,
predecessors, successors, assignees, representatives of any kind, shareholders, partners, directors,
or Affiliates.

      49.     “Retailers” means any person or entity that has offered, is presently offering, or
may in the future offer the Products for sale or resale (including, without limitation, wholesale

                                             Page 7 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 9 Page
                                                             of 41 9PageID
                                                                     of 41 #: 2389

                                                Settlement Agreement in Gilmore et al. v. Monsanto


distributors, private-label distributors, and all retailers and retail distributors), and each and all of
their respective past, present, or future, direct or indirect, predecessors, successors, parents,
subsidiaries, Affiliates, and divisions; and any past, present, or future officer, director, shareholder,
owner, employee, partner, trustee, representative, agent, servant, insurer, attorney, predecessor,
successor, or assignee of any of the above. “Retailers” shall include, but is in no way limited by,
Ace Hardware Corporation; Costco Wholesale Corporation; Home Depot U.S.A., Inc.; The Home
Depot, Inc.; Lowe’s Companies, Inc.; Lowe’s Home Centers, LLC; Target Corporation; Walmart
Inc.; and Wal-Mart Stores, Inc., and each and all of their respective past, present, or future, direct
or indirect, predecessors, successors, parents, subsidiaries, Affiliates, and divisions; and any past,
present, or future officer, director, shareholder, owner, employee, partner, trustee, representative,
agent, servant, insurer, attorney, predecessor, successor, or assignee of any of the above.

        50.     “Scotts” means The Scotts Company LLC, Monsanto’s exclusive marketing and
distribution agent for Roundup® consumer products, and each and all of its respective past,
present, or future, direct or indirect, predecessors, successors, parents, subsidiaries, Affiliates, and
divisions; and any past, present, or future officer, director, shareholder, owner, employee, partner,
trustee, representative, agent, servant, insurer, attorney, predecessor, successor, or assignee of any
of the above.

        51.     “Settlement Class” means all Persons in the United States who, during the Class
Period, purchased Products (as defined above) in the United States other than for resale or
distribution. Excluded from the Settlement Class are (i) judicial officers and associated court staff
assigned to this case, and their immediate family members; (ii) past and present (as of the Effective
Date) officers, directors, and employees of Monsanto; (iii) all those otherwise in the Settlement
Class who timely and properly exclude themselves from the Settlement Class pursuant to this
Agreement and in the manner approved by the Court and set forth in the Class Notice.

       52.     “Settlement Website” means a website maintained by the Claims Administrator to
provide the Settlement Class with information relating to the Settlement.

      53.    “Taylor” means the named plaintiff in the Related Action Taylor v. Costco
Wholesale Corp. and one of the named Plaintiffs in the Second Amended Complaint, Paul Taylor.

        54.    “United States” means the fifty states of the United States, the District of Columbia,
the Commonwealth of Puerto Rico, Guam, American Samoa, the Virgin Islands of the United
States, the Commonwealth of the Northern Mariana Islands, any other territory or possession of
the United States, and any United States military or diplomatic establishment wherever located.

        55.    “Weeks” means the named plaintiff in the Related Action Weeks v. Home Depot
U.S.A., Inc. and one of the named Plaintiffs in the Second Amended Complaint, James Weeks.

       56.   “Williams” means the named plaintiff in the Related Action Williams v. Lowe’s
Home Centers, LLC and one of the named Plaintiffs in the Second Amended Complaint, Kristy
Williams.




                                             Page 8 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 10Page
                                                              of 4110PageID
                                                                      of 41 #: 2390

                                                Settlement Agreement in Gilmore et al. v. Monsanto


    B. Conditional Class Certification for Settlement Purposes Only

        1.     For settlement purposes only, Plaintiffs agree to ask the Court to certify the
 Settlement Class under Rule 23(b)(3) of the Federal Rules of Civil Procedure.

         2.       This Agreement is for settlement purposes only, and neither the fact of, nor any
 provision contained in, this Agreement, nor any action taken hereunder, shall constitute, be
 construed as, or be admissible in evidence as an admission of (1) the validity of any Claim or
 allegation by Plaintiffs, or of any defense asserted by Monsanto, in this Action or any other actions
 or proceedings; (2) any wrongdoing, fault, violation of law, or liability of any kind on the part of
 any Party, Released Party, Class Member, or their respective counsel; or (3) the propriety of class
 certification in the Action, Related Actions, or any other action or proceeding.

         3.      For the sole and limited purpose of settlement only, the Parties stipulate to and
 request that the Court conditionally certify the Settlement Class under Rule 23(b)(3), which
 stipulation is contingent upon the occurrence of the Effective Date. Should the Effective Date not
 occur, this Agreement shall be void and will not constitute, be construed as, or be admissible in
 evidence as an admission of any kind or be used for any purpose in the Action or Related Actions
 or in any other pending or future action. In the event that the Agreement is terminated pursuant to
 its terms or the Final Settlement Hearing does not occur for any reason, the certification of the
 Settlement Class shall be vacated, and the Action shall proceed as it existed prior to execution of
 this Agreement.

          4.     The Court’s certification of the Settlement Class shall not be deemed an
 adjudication of any fact or issue for any purpose other than the accomplishment of the provisions
 of this Agreement and shall not be considered the law of the case, res judicata, or collateral estoppel
 in the Action, Related Actions, or any other proceeding unless and until the Court enters a
 Judgment. Regardless of whether the Effective Date occurs, the Parties’ agreement to class
 certification for settlement purposes only (and any statements or submissions made by the Parties
 in connection with seeking the Court’s approval of this Agreement) shall not be deemed to be a
 stipulation as to the propriety of class certification, or any admission of fact or law regarding any
 request for class certification, in any other action or proceeding, whether or not involving the same
 or similar Claims.

         5.      In the event that the Court does not enter a Judgment, or the Effective Date does
 not occur, or the Agreement is otherwise terminated or rendered null and void, the Parties’
 agreement to certification of the Settlement Class for settlement purposes shall be null and void
 and the Court’s certification order (if any is ordered) shall be vacated, and thereafter no new class
 or classes will remain certified.

          6.      Nothing in this Agreement shall be argued as support for, or admissible in, an effort
 to certify any new class in this Court or any other court if the Court does not enter a Judgment, or
 the Effective Date does not occur, nor shall anything herein be admissible in any proceeding to
 certify this or any other classes in any other court under any circumstances.

        7.     Subject to the Court’s approval, and for settlement purposes only, Monsanto
 consents to the appointment of Gilmore, Weeks, Taylor, Hanna, Boyette, Ezcurra, Jewell, and


                                             Page 9 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 11Page
                                                              of 4111PageID
                                                                      of 41 #: 2391

                                               Settlement Agreement in Gilmore et al. v. Monsanto


 Williams as Class Representatives of the Settlement Class, and the appointment of Class Counsel
 as counsel for the Settlement Class.

       8.      The Preliminary Approval Order shall contain a provision enjoining Class Members
 who have not opted out of the Agreement from proceeding with any Released Claims.

         9.      Promptly following the filing of a motion for preliminary approval of this
 Agreement, Class Counsel shall make all reasonable and lawful efforts to ensure that plaintiffs in
 any pending Related Action or any other pending case with allegations and Claims similar to those
 in the Action consent to this Agreement and agree to stay or dismiss any such actions pending final
 approval of this Agreement. If for any reason, after Class Counsel’s reasonable efforts, such other
 plaintiffs will not consent to this Agreement and agree to stay or dismiss any such actions, or in
 the event that the court before which any such action is pending will not agree to a stipulated stay
 or dismissal, then Class Counsel shall reasonably cooperate with Monsanto in any effort to seek a
 stay of such actions so that notice, administration, and approval of this Agreement may proceed in
 an organized and efficient manner.

        10.    Upon final approval of the Agreement by the Court, a Judgment substantially in the
 form agreed by the Parties, and conforming with the definition of Final Settlement Approval Order
 and Judgment above, will be entered by the Court.

    C. Benefits of the Agreement

         Class Counsel and the Class Representatives believe the Agreement confers substantial
 benefits upon the Settlement Class, particularly as weighed against the risk associated with the
 inherently uncertain nature of a litigated outcome; the complex nature of the Action; and the
 expense of continued proceedings through the completion of fact and expert discovery, class
 certification briefing, summary-judgment briefing, trial, and appeals. On the basis of their
 evaluation of such factors, Class Counsel and Class Representatives have determined that
 settlement, based on the terms in this Agreement, is in the best interests of the Settlement Class.

    D. Settlement Consideration

         1.     The total cash consideration to be paid by Monsanto pursuant to this Agreement
 shall be an amount not less than $23 million (the “Floor Amount”) and not greater than $45 million
 (the “Ceiling Amount”), which shall include all amounts that Monsanto has paid or is to pay under
 or in connection with this Agreement, including, but not limited to, all costs of Class Notice,
 Claims Administration Expenses, Class Member Claims, Class Representative service awards,
 Class Counsel’s Expenses, and Class Counsel’s Fees.

        2.     Prior to the Effective Date, Monsanto’s only monetary obligation shall be to pay
 those amounts necessary to cover the costs of Class Notice and Claims Administration Expenses.
 Monsanto shall pay such amounts promptly and as necessary to cover such costs.

        3.      In no event shall Monsanto be required to contribute or pay an amount greater than
 the Ceiling Amount, when taking into account all amounts that Monsanto has paid or is to pay
 under or in connection with this Agreement, including, but not limited to, payments of or for Class


                                           Page 10 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 12Page
                                                              of 4112PageID
                                                                      of 41 #: 2392

                                               Settlement Agreement in Gilmore et al. v. Monsanto


 Notice, Claims Administration Expenses, Class Member Claims, Class Representative service
 awards, Class Counsel’s Expenses, and Class Counsel’s Fees.

         4.      The payment obligations set forth in this Agreement will not be subject to any
 interest obligation or inflation adjustment.

    E. Class Member Claims

         1.       If the Ceiling Amount is sufficient to allow such payments (and subject to the
 further limitations and requirements set forth below) after payment of all other amounts Monsanto
 has paid or is to pay under or in connection with this Agreement, then for each unit of the Products
 purchased by an Authorized Claimant during the Class Period, that Authorized Claimant shall
 receive a standardized payment of the below amounts (the “Default Payment Amounts”) for each
 Product purchased:

               Product                             Default Payment Amounts Per Unit


  16 oz. Roundup® Weed and Grass                                   $1.00
        Killer Sure Shot Foam



  22 oz. Roundup® Weed and Grass                                   $1.00
        Killer Sure Shot Foam



   24 oz. Roundup® Ready-to-Use                                    $1.00
       Weed and Grass Killer

   30 oz. Roundup® Ready-to-Use                                    $1.00
       Weed and Grass Killer

   24 oz. Roundup® Ready-to-Use                                    $1.50
    Poison Ivy Plus Tough Brush
    Killer or Wild Blackberry Plus
         Vine & Brush Killer

   24 oz. Roundup® Ready-to-Use                                    $2.00
   Extended Control Weed & Grass
     Killer Plus Weed Preventer




                                           Page 11 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 13Page
                                                              of 4113PageID
                                                                      of 41 #: 2393

                                      Settlement Agreement in Gilmore et al. v. Monsanto


   1 gal. Roundup® Ready-to-Use                          $2.00
      Weed and Grass Killer (all
           applicator types)


    0.5 gal. (64 oz.) Roundup®                           $2.50
   Ready-to-Use Weed and Grass
                Killer


     0.5 gal. (64 oz.) Roundup®                          $2.50
   Ready-to-Use Extended Control
   Weed & Grass Killer Plus Weed
               Preventer

  1.25 gal. Roundup® Ready-to-Use                        $2.50
      Weed and Grass Killer (all
            applicator types)


   5 oz. Roundup® Precision Gel                          $3.00
       Weed and Grass Killer



  1 gal. Roundup® Ready-to-Use                           $3.00
  Extended Control Weed & Grass
    Killer Plus Weed Preventer


   1 gal. Roundup® Ready-to-Use                          $3.00
    Poison Ivy Plus Tough Brush
   Killer or Wild Blackberry Plus
         Vine & Brush Killer

  16 oz. Roundup® Weed & Grass                           $3.50
      Killer Concentrate Plus




                                    Page 12 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 14Page
                                                              of 4114PageID
                                                                      of 41 #: 2394

                                        Settlement Agreement in Gilmore et al. v. Monsanto


  1.33 gal. Roundup® Ready-to-Use                          $3.50
     Poison Ivy Plus Tough Brush
    Killer or Wild Blackberry Plus
         Vine & Brush Killer

  1.1 gal. Roundup® Ready-to-Use                           $4.00
      Weed & Grass Killer (all
           applicator types)


  32 oz. Roundup® Weed and Grass                           $4.00
       Killer Concentrate Plus



    35.2 oz. Roundup® Weed and                             $4.00
    Grass Killer Concentrate Plus



  1.33 gal. Roundup® Ready-to-Use                          $4.00
       Weed & Grass Killer (all
            applicator types)


  1.33 gal. Roundup® Ready-to-Use                          $5.00
   Extended Control Weed & Grass
    Killer Plus Weed Preventer (all
            applicator types)

  1.25 gal. Roundup® Ready-to-Use                          $5.00
   Extended Control Weed & Grass
    Killer Plus Weed Preventer (all
            applicator types)

   16 oz. Roundup® Concentrate                             $5.50
  Extended Control Weed & Grass
    Killer Plus Weed Preventer




                                      Page 13 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 15Page
                                                              of 4115PageID
                                                                      of 41 #: 2395

                                       Settlement Agreement in Gilmore et al. v. Monsanto


  3-pack – 6 oz. Roundup® Weed &                          $5.50
    Grass Killer Concentrate Plus



   32 oz. Roundup® Concentrate                            $5.50
    Poison Ivy Plus Tough Brush
   Killer or Wild Blackberry Plus
        Vine & Brush Killer

  1.25 gal. Roundup® Ready-to-Use                         $6.00
   Max Control 365 (all applicator
                types)


  36.8 oz. Roundup® Weed & Grass                          $6.00
        Killer Concentrate Plus



  40 oz. Roundup® Weed & Grass                            $6.00
      Killer Concentrate Plus



  1.1 gal. Roundup® Ready-to-Use                          $6.00
  Extended Control Weed & Grass
   Killer Plus Weed Preventer (all
           applicator types)

  1.33 gal. Roundup® Ready-to-Use                         $7.00
   Max Control 365 (all applicator
                types)


    Combination Pack – 1.33 gal.                          $7.50
  Roundup® Ready-to-Use Weed &
     Grass Killer and 2 × 7 oz.
   Roundup® Weed & Grass Killer
         Concentrate Plus




                                     Page 14 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 16Page
                                                              of 4116PageID
                                                                      of 41 #: 2396

                                      Settlement Agreement in Gilmore et al. v. Monsanto


    0.5 gal. (64 oz.) Roundup®                           $7.50
   Concentrate Plus Weed & Grass
                Killer


   32 oz. Roundup® Concentrate                           $8.00
  Extended Control Weed & Grass
    Killer Plus Weed Preventer


   32 oz. Roundup® Concentrate                           $8.50
          Max Control 365



   Combination pack – 1.33 gal.                          $9.00
   Roundup® Ready-to-Use Max
  Control 365 and 8 oz. Roundup®
   Concentrate Max Control 365.

  80 oz. Roundup® Weed & Grass                           $9.50
      Killer Concentrate Plus



    Combination Pack – 1.33 gal.                         $9.50
  Roundup® Ready-to-Use Weed &
  Grass Killer and 8 oz. Roundup®
     Weed & Grass Killer Super
              Concentrate
    Combination pack – 1.33 gal.                        $10.50
    Roundup® Extended Control
   Weed & Grass Killer Plus Weed
   Preventer and 16 oz. Roundup®
    Concentrate Extended Control
   Weed & Grass Killer Plus Weed
               Preventer
  35.2 oz. Roundup® Weed & Grass                        $11.50
       Killer Super Concentrate




                                    Page 15 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 17Page
                                                              of 4117PageID
                                                                      of 41 #: 2397

                                        Settlement Agreement in Gilmore et al. v. Monsanto


  2-pack – 80 oz. Roundup® Weed                           $12.50
  & Grass Killer Concentrate Plus



    0.42 gal. Roundup® Weed &                             $14.00
   Grass Killer Super Concentrate



  0.5 gal. (64 oz.) Roundup® Weed                         $15.00
  & Grass Killer Super Concentrate



   1 gal. Roundup® Weed & Grass                           $21.50
       Killer Super Concentrate



       2.5 gal. Roundup® Pro                              $33.00
             Concentrate



  24 oz. Ace® Ready-to-Use Weed                            $0.50
           & Grass Killer



 1 gal. Ace® Ready-to-Use Weed &                           $1.50
            Grass Killer



 1 gal. Ace® Ready-to-Use Weed &                           $3.00
 Grass Killer with battery-operated
              sprayer




                                      Page 16 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 18Page
                                                              of 4118PageID
                                                                      of 41 #: 2398

                                              Settlement Agreement in Gilmore et al. v. Monsanto


  32 oz. Ace® Concentrate Weed &                                   $3.00
            Grass Killer



   1 gal. Ace® Concentrate Weed &                                  $5.50
             Grass Killer



   32 oz. HDX® Concentrate Weed                                    $1.50
           & Grass Killer



  0.5 gal. HDX® Concentrate Weed                                   $3.00
            & Grass Killer



  2.5 gal. HDX® Concentrate Weed                                  $12.50
            & Grass Killer




         2.    If, after accounting for payment of all other amounts Monsanto has paid or is to pay
 under or in connection with this Agreement, the Ceiling Amount is insufficient to allow the
 payments to Authorized Claimants of the Default Payment Amounts, then the payments to
 Authorized Claimants shall be adjusted downward on a pro rata basis to the extent necessary to
 permit the payment of all Claims for Relief by Authorized Claimants without exceeding the Ceiling
 Amount.

         3.     If, after accounting for payment of all other amounts Monsanto has paid or is to pay
 under or in connection with this Agreement, and considering the Default Payment Amounts that
 would otherwise be paid to Authorized Claimants, the total amount to be paid by Monsanto under
 or in connection with this Agreement would be less than the Floor Amount, then the payment to
 Authorized Claimants shall be adjusted upward on a pro rata basis to the extent necessary to
 exhaust the Floor Amount.

         4.      If, after all Approved Claims are paid, checks sent to Authorized Claimants remain
 unclaimed, uncashed, or otherwise not redeemed after one hundred eighty (180) days from the date
 of the checks, then (1) if a reversion to Monsanto of the full amount of the unclaimed, uncashed,
 or otherwise unredeemed checks would not cause the total amount paid by Monsanto under or in
 connection with this Agreement to fall below the Floor Amount, then the full amount of those

                                           Page 17 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 19Page
                                                              of 4119PageID
                                                                      of 41 #: 2399

                                               Settlement Agreement in Gilmore et al. v. Monsanto


 checks shall revert to Monsanto; (2) if a reversion to Monsanto of the full amount of the unclaimed,
 uncashed, or otherwise unredeemed checks would cause the total amount paid by Monsanto under
 or in connection with this Agreement to fall below the Floor Amount, then (a) whatsoever amount
 of unclaimed, uncashed, or otherwise unredeemed checks that can revert to Monsanto without
 causing the total amount paid by Monsanto under or in connection with this Agreement to fall
 below the Floor Amount shall revert to Monsanto; (b) as to the remaining amount of unclaimed,
 uncashed, or otherwise unredeemed checks, (i) if a further pro rata payment to Authorized
 Claimants (other than those Authorized Claimants who did not cash or redeem their checks) is
 economically feasible in the judgment of the Claims Administrator, then such further payments
 shall be made; and (ii) if a further payment as described above is not economically feasible in the
 judgment of the Claims Administrator, then such amount shall be donated to the National
 Consumer Law Center.

         5.     In the event that a further pro rata distribution to Authorized Claimants (other than
 those Authorized Claimants who did not cash or redeem their checks) is made pursuant to the
 above Clause E.4(2)(b)(i), the amount of any checks from that further pro rata distribution that
 remain unclaimed, uncashed, or otherwise not redeemed after one hundred eighty (180) days from
 the date of such checks shall be donated to the National Consumer Law Center.

    F. Attorneys’ Fees, Expenses, and Costs

        1.     Class Counsel and Class Representatives shall request attorneys’ fees and costs,
 including Class Counsel’s Fees, and service awards, to be paid by Monsanto. Monsanto will not
 contest a request for Class Counsel’s Fees that do not exceed 25% of the Ceiling Amount.
 Monsanto will not oppose reasonable service awards, in an amount not to exceed $5,000 each, for
 the Class Representatives. Notwithstanding the foregoing, the amount of Class Counsel’s Fees
 and service awards to Class Representatives awarded by the Court is within the Court’s discretion,
 and the amount awarded by the Court shall have no impact on the validity of this Agreement.

         2.      The Parties recognize that Class Counsel’s Fees reflect the novel and complex
 nature of this matter, as well as the risk assumed by Class Counsel in investing years of labor and
 resources into gaining relief for the Settlement Class without guarantee of return. The Parties
 recognize also that litigation pursued in the Related Actions contributed significantly to bringing
 about the mediation in this matter and this Agreement and is appropriately considered by the Court
 in assessing the reasonableness of Class Counsel’s Fees and Expenses.

       3.     Monsanto shall pay to Class Counsel the amount of Class Counsel’s Fees and
 Expenses awarded by the Court within twenty-one (21) calendar days after the Effective Date.

    G. Retention of Claims Administrator

         Monsanto shall retain the Claims Administrator to effect Class Notice and administration.
 The Claims Administrator shall assist with various administrative tasks, including, without
 limitation:

         1.     arranging for the dissemination of the Class Notice pursuant to the Notice Plan
                agreed to by the Parties and approved by the Court;


                                           Page 18 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 20Page
                                                              of 4120PageID
                                                                      of 41 #: 2400

                                               Settlement Agreement in Gilmore et al. v. Monsanto


         2.      answering written inquiries from Class Members and/or forwarding such inquiries
                 to Class Counsel;
         3.      receiving and maintaining forms of Class Members who wish to opt out of and be
                 excluded from the Agreement;
         4.      establishing a Settlement Website;
         5.      establishing and staffing a toll-free informational telephone number for Class
                 Members;
         6.      receiving and processing Claims for Relief and distributing payments to Authorized
                 Claimants; and
         7.      otherwise assisting with administration of the Agreement.
    H. Timing

         All Claim Forms must be postmarked or received by the Claims Administrator by the
 Claims Deadline to be considered timely. The Claims Deadline shall be clearly set forth in the
 Preliminary Approval Order, in the Class Notice, on the Settlement Website, and on the front of
 the Claim Form.

    I. Procedure

         1.      Class Notice will be designed to meet the requirements of Rule 23(c)(2)(B) of the
 Federal Rules of Civil Procedure and due process. Class Notice shall include print and nationwide
 digital publication.

        2.    All Claims for Relief must be submitted with a Claim Form and received by the
 Claims Administrator.

         3.      The Claim Form will be available on the Settlement Website. The Claim Form will
 be available to fill out and submit online, for download, or will be mailed to Class Members upon
 request by calling or writing to the Claims Administrator. Class Members may submit their
 completed and signed Claim Forms to the Claims Administrator by mail or online, postmarked or
 submitted online, and on or before the Claims Deadline.

         4.      The Claim Form must include either valid proof of purchase or, subject to the
 limitations set forth below, an affirmation of the identity and quantity of the Products purchased.
 All Claim Forms must include:

              a. Class Member name, address, email address, and telephone number;
              b. identification of the quantity and type of Product(s) the Class Member purchased;
              c. the Retailer and location (city and state) where the Products were purchased; and
              d. the approximate date(s) or date ranges on or during which the Product or Products
                 were purchased.
        5.    The Claims Administrator shall retain sole discretion in accepting or rejecting
 Claim Forms.

                                            Page 19 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 21Page
                                                              of 4121PageID
                                                                      of 41 #: 2401

                                                Settlement Agreement in Gilmore et al. v. Monsanto


         6.      Claims for Relief that are based only on an affirmation (i.e., that do not include
 valid proof of purchase) shall be limited to a maximum allowance (the “Maximum Allowance”)
 of one (1) Product for each year or partial year (e.g., if the Class Period is five (5) years and three
 (3) months, this shall be treated as six (6) years for purposes of calculating the Maximum
 Allowance) of the Class Period (the number of years for each Class Member being determined by
 the state of that Class Member’s purchases as set forth in the definition of Class Period above)
 with the exception of Claims for Relief for 1 gal. Roundup® Weed and Grass Killer Super
 Concentrate, 2.5 gal. Roundup® Pro Concentrate, and/or 2.5 gal. HDX® Weed & Grass Killer
 Concentrate. Claims for Relief for 1 gal. Roundup® Weed and Grass Killer Super Concentrate,
 2.5 gal. Roundup® Pro Concentrate, and/or 2.5 gal. HDX® Weed & Grass Killer Concentrate will
 require valid proof of purchase.

         7.     Claims for Relief based on a valid proof of purchase are not subject to the
 Maximum Allowance, but for such Claims for Relief, it shall be in the Claims Administrator’s
 discretion to determine whether the proof of purchase provided is genuine and sufficient. The
 Claims Administrator may, at its discretion, require a declaration signed under penalty of perjury
 that provides additional information to confirm that the proof of purchase is genuine and sufficient.
 If the Claims Administrator is not satisfied with the proof of purchase provided, it may, in its
 discretion, deny or reduce the Claim for Relief.

         8.      Monsanto shall fund, and the Claims Administrator shall pay out, approved Claims
 for Relief in accordance with the terms of this Agreement commencing sixty (60) calendar days
 after the Effective Date or as otherwise ordered by the Court.

         9.     Class Members who do not submit a Claim for Relief or opt out (i.e., do nothing)
 will be subject to this Agreement and all of its terms, including, but not limited to, the releases,
 and will receive no payment.

    J. Opt-Out Procedure

        1.      Class Members who wish to opt out of and be excluded from the Agreement must
 download from the Settlement Website, or request from the Claims Administrator, an Opt-Out
 Form, which form shall be created by the Claims Administrator, and Class Members must complete
 and mail the form to the Claims Administrator, at the mailing address stated on the Opt-Out Form,
 postmarked no later than one hundred twenty (120) days after the Preliminary Approval Date (to
 be concurrent with the Claims Deadline), or such other date as the Court may order in its
 Preliminary Approval Order (the “Opt-Out Deadline”).

      2.      The Opt-Out Form must be personally completed and submitted by the Class
 Member, and multiple-Class-Member “mass” or “class” opt-outs shall not be permitted.

        3.      The written request to opt out must contain the Class Member’s printed name,
 address, telephone number, and date of birth, and it must contain the dated personal signature of
 the Class Member seeking to exclude himself or herself from the Agreement.

         4.      The Claims Administrator shall be responsible for processing opt-outs and
 objections, if any, including promptly providing Class Counsel and counsel for Monsanto with
 copies of same.

                                             Page 20 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 22Page
                                                              of 4122PageID
                                                                      of 41 #: 2402

                                                Settlement Agreement in Gilmore et al. v. Monsanto


    K. Procedures for Objecting to the Settlement

        Class Members have the right to appear and show cause why the Agreement should not be
 granted final approval, subject to each of the provisions of this paragraph:

          1.    Written Objection Required. Any objection to the Agreement must be in writing,
 filed with the Court, and with a copy served on Class Counsel and counsel for Monsanto at the
 addresses set forth in the Class Notice and in Miscellaneous Provision Paragraph R.2 below, by
 the Objection Deadline.

          2.      Form of Written Objection. Any objection regarding or related to the Agreement
 shall contain (i) a caption or title that clearly identifies the Action and that the document is an
 objection, (ii) information sufficient to identify and contact the objecting Class Member and his or
 her attorney, and (iii) a clear and concise statement of the Class Member’s objection, as well as
 any facts and law supporting the objection (the “Objection”).

          3.    Authorization of Objections Filed by Attorneys Representing Objectors. Class
 Members may object either on their own or through an attorney hired at their own expense, but a
 Class Member represented by an attorney must either sign the Objection himself or herself or
 execute a separate declaration stating that the Class Member authorizes the filing of the Objection.

           4.   Effect of Both Opt-Out and Objection. If a Class Member submits an Opt-Out
 Form, the Class Member will be deemed to have opted out of the Agreement, and thus to be
 ineligible to object. However, any objecting Class Member who has not timely submitted a
 completed Opt-Out Form for exclusion from the Agreement will be bound by the terms of the
 Agreement upon the Court’s final approval of the Agreement.

    L. Release by Class Members

         1.      Upon the Effective Date, each of the Class Members will be deemed to have, and
 by operation of the Judgment will have, fully, finally, and forever released, relinquished, and
 discharged, and covenanted not to sue, the Released Parties from any and all Claims (with the
 exception of Personal Injury Claims), whether known or unknown, matured or unmatured, asserted
 or unasserted, latent or patent, at law or in equity, existing under federal or state law, regardless of
 legal theory or relief claimed, that any Class Member has or may in the future have against any
 Released Party arising out of or related in any way to:

            a. any allegedly false, misleading, incomplete, or inaccurate statement, or any alleged
               omission, regarding the alleged carcinogenicity, toxicity, genotoxicity, endocrine
               disruptive effects, or any other alleged health effects of the Products or any
               ingredient or component thereof, including, but not limited to, glyphosate (whether
               or not such statement or alleged omission regarding an ingredient or component
               thereof is made specifically with regard to the Products, with regard to the
               ingredient or component thereof separately, or with regard to other products), or
               any scientific claims or debate regarding the same;

            b. any alleged breach of contract or breach of warranty arising out of or related to the
               alleged carcinogenicity, toxicity, genotoxicity, endocrine disruptive effects, or any

                                             Page 21 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 23Page
                                                              of 4123PageID
                                                                      of 41 #: 2403

                                                Settlement Agreement in Gilmore et al. v. Monsanto


                other alleged health effects of the Products or any ingredient or component thereof,
                including, but not limited to, glyphosate, or any scientific claims or debate
                regarding the same; or

            c. any other alleged economic loss or injury (but not personal injury) allegedly
               suffered by or inflicted on any Class Member because of or related to the alleged
               carcinogenicity, toxicity, genotoxicity, endocrine disruptive effects, or any other
               alleged health effects of the Products or any ingredient or component thereof,
               including, but not limited to, glyphosate, or any scientific claims or debate
               regarding the same.

 Collectively, the foregoing are “Released Claims.” For avoidance of doubt, this release does not
 release any Personal Injury Claims. To the extent that any action or proceeding includes both
 Personal Injury Claims and Claims that would otherwise be released by this Agreement, the
 Personal Injury Claims will not be deemed released, but the other Claims will be released.
 Similarly, to the extent that any Class Member asserts a cause of action or other Claim that would
 otherwise fall within the scope of this release, but asserts the right to recover both damages caused
 by personal injury and some other type of damages or relief (for example, but not limited to,
 economic or statutory damages), that cause of action or Claim will survive this release only to the
 extent of damages caused by personal injury. For further avoidance of doubt, this release shall
 apply to Claims arising from, resulting from, or in any way relating to or in connection with a
 Class Member’s purchase or use of the Products in the past, present, or future.

         2.      Upon the Effective Date, each of the Class Members shall be deemed to
 acknowledge and agree that the releases set forth in this Agreement are irrevocable and
 unconditional, inure to the benefit of Monsanto and all other Released Persons (which are intended
 third-party beneficiaries), and are intended to be construed as broadly as reasonably possible so
 that the Released Persons shall never be called upon to pay any further sums or expenses or be
 liable, directly or indirectly, to any person seeking contribution and/or indemnity from the
 Released Persons, or any of them, by reason of any legal actions brought against them pertaining
 in any way to, or arising from, or connected with the Released Claims.

         3.      If any part or provision of the releases included in this Agreement is adjudicated to
 be invalid, illegal, or unenforceable in any jurisdiction, the relevant part or provision shall be
 deemed modified to the extent necessary to make it enforceable in such jurisdiction and, if it cannot
 be so modified, the releases shall be deemed amended to delete herefrom the invalid or
 unenforceable part or provision, and the releases shall be in full force and effect as so modified.
 Any such modification or amendment shall apply only to the operation of that part or provision in
 the particular jurisdiction in which such adjudication was made and shall not affect such part or
 provision in any other jurisdiction. To the fullest extent permitted by applicable law, the Class
 Members hereby specifically and expressly waive any provision of law that renders any part or
 provision of the releases herein invalid, illegal, or unenforceable in any respect.

    M. Release of Plaintiffs

       Upon the Effective Date, Monsanto will be deemed to have, and by operation of the
 Judgment will have, fully, finally, and forever released, relinquished, and discharged Plaintiffs, the

                                            Page 22 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 24Page
                                                              of 4124PageID
                                                                      of 41 #: 2404

                                                Settlement Agreement in Gilmore et al. v. Monsanto


 Class, and Class Counsel from any and all Claims, demands, rights, suits, liabilities, and causes of
 action of every nature and description whatsoever, whether known or unknown, matured or
 unmatured, at law or in equity, existing under federal or state law, that Monsanto has or may have
 against any of them arising out of or related in any way to the transactions, occurrences, events,
 behaviors, conduct, practices, and policies alleged in the Action and, in connection with the filing
 and conduct of the Action, that have been brought, could have been brought, or are currently
 pending in any forum in the United States.

    N. Section 1542 Waiver

      ALL PARTIES ACKNOWLEDGE SECTION 1542 OF THE CALIFORNIA CIVIL
 CODE. THE CLASS MEMBERS EXPRESSLY WAIVE AND RELINQUISH ANY RIGHTS OR
 BENEFITS AVAILABLE TO THEM UNDER THIS STATUTE. CALIFORNIA CIVIL CODE
 SECTION 1542 PROVIDES: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
 WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
 FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR
 HER MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
 DEBTOR.” NOTWITHSTANDING CALIFORNIA CIVIL CODE SECTION 1542 OR ANY
 OTHER FEDERAL OR STATE STATUTE OR RULE OF LAW OF SIMILAR EFFECT, THIS
 AGREEMENT SHALL BE GIVEN FULL FORCE AND EFFECT ACCORDING TO EACH
 AND ALL OF ITS EXPRESSED TERMS AND PROVISIONS, INCLUDING THOSE
 RELATED TO ANY UNKNOWN OR UNSUSPECTED CLAIMS, LIABILITIES, DEMANDS,
 OR CAUSES OF ACTION THAT ARE BASED ON, ARISE FROM, OR ARE IN ANY WAY
 CONNECTED WITH THE ACTION.

    O. Class Action Fairness Act

         1.      The Class Action Fairness Act of 2005 (“CAFA”) requires Monsanto to inform
 certain federal and state officials about this Agreement. See 28 U.S.C. § 1715.

         2.      Under the provisions of CAFA, the Claims Administrator, on behalf of Monsanto,
 will serve notice upon the appropriate officials within ten (10) calendar days after the Parties file
 the proposed Agreement with the Court. See 28 U.S.C. § 1715(b).

          3.  The Parties agree that either the Claims Administrator or Monsanto is permitted to
 provide CAFA notice as required by law and that any such notice shall be done to effectuate the
 Agreement and shall not be considered a breach of this Agreement or any other agreement of the
 Parties.

         4.      If any of the notified federal or state officials takes any action adversely affecting
 the validity or enforceability of the Agreement or seeks to impose additional terms or liability on
 Monsanto for the matters resolved by the Class Released Claims, Monsanto may, at its option,
 suspend the implementation of the Agreement pending the outcome of the action initiated by the
 notified federal or state official or, provided that the Court has not yet entered the Final Settlement
 Approval Order and Judgment, may elect to void the Agreement by written notice to Class
 Counsel.



                                             Page 23 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 25Page
                                                              of 4125PageID
                                                                      of 41 #: 2405

                                                Settlement Agreement in Gilmore et al. v. Monsanto


    P. Court Approval

         1.       Promptly after executing this Agreement, the Parties will submit to the Court the
 Agreement, together with its exhibits, and will request that the Court grant preliminary approval
 of the proposed Agreement, issue a Preliminary Approval Order, and schedule a Final Approval
 Hearing to determine whether the Agreement should be granted final approval, whether an
 application for attorneys’ fees and costs should be granted, and whether an application for service
 awards should be granted. As part of the preliminary-approval motion, the Parties will request that
 the Court certify the Settlement Class provisionally for settlement purposes and formally to appoint
 Class Counsel. The Parties intend and acknowledge that any such certification and appointment
 would be for purposes of the Agreement only, and not effective in continuing litigation between
 the Parties, if any.

        2.     A Final Settlement Hearing to determine final approval of the Agreement shall be
 scheduled as soon as practicable, subject to the calendar of the Court, but no sooner than one
 hundred fifty (150) days after the Preliminary Approval Date. Upon final approval of the
 Agreement by the Court at or after the Final Settlement Hearing, the Parties shall seek and obtain
 from the Court the Final Settlement Approval Order and Judgment.

         3.      Objecting Class Members may appear at the Final Approval Hearing and be heard,
 subject to the provisions of paragraph K above. The Parties shall have the right, but not the
 obligation, either jointly or individually, to respond to any objection.

         4.       If this Agreement is not given final approval by the Court, the Parties will seek in
 good faith to revise the Agreement as needed to obtain Court approval. Failing this, the Parties
 will be restored to their respective places in the litigation. In such event, the terms and provisions
 of this Agreement will have no further force and effect with respect to the Parties and will not be
 used in this or in any other proceeding for any purposes, and any judgment or order entered by the
 Court in accordance with the terms of this Agreement will be treated as vacated.

    Q. No Public Statements and Media or Public Inquiry Plan

          1.     Other than as expressly permitted below, the Parties will refrain (directly, or through
 counsel or third parties) from making any public statements regarding the fact of or the terms of
 this settlement, absent written agreement signed by both Parties.

         2.    In responding to any inquiries from the public media concerning the Action and/or
 the Agreement, the Plaintiff and Class Counsel will limit their comments to the effect that “the
 matter has been settled to the satisfaction of all Parties subject to Court approval” unless a prior
 written agreement has been signed by both Parties. Nothing in this paragraph shall limit Class




                                             Page 24 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 26Page
                                                              of 4126PageID
                                                                      of 41 #: 2406

                                               Settlement Agreement in Gilmore et al. v. Monsanto


 Counsel’s ability to communicate privately with a Class Member concerning this Action or the
 Agreement.

        3.     Monsanto or the Claims Administrator may make such public disclosures about the
 Action and Agreement as any applicable laws require.

         4.     Monsanto shall be permitted to respond to questions from media outlets to provide
 truthful information regarding the scope of this Agreement and the distinction between this
 Agreement and other class action settlements entered into by Monsanto.

        5.      Prior to filing the motion for preliminary approval, the Parties shall agree on the
 language of a press release regarding this Agreement.

    R. Miscellaneous Provision

         1.      Entire Agreement. This Agreement shall constitute the entire Agreement among the
 Parties with regard to the subject matter of this Agreement and shall supersede any previous
 agreements, representations, communications, and understandings among the Parties with respect
 to the subject matter of this Agreement. The Parties acknowledge, stipulate, and agree that no
 covenant, obligation, condition, representation, warranty, inducement, negotiation, or undertaking
 concerning any part or all of the subject matter of the Agreement has been made or relied upon
 except as expressly set forth herein. This Agreement supersedes any prior agreement between the
 Parties, including the Term Sheet executed by the Parties.

         2.     Notices Under This Agreement. All notices or mailings required by this Agreement
 to be provided to or approved by Class Counsel and Monsanto, or otherwise made pursuant to this
 Agreement, shall be provided as follows:

  Class Counsel                                      Monsanto

  Gillian L. Wade                                    John J. Rosenthal
  Milstein, Jackson, Fairchild & Wade, LLP           Winston & Strawn LLP
  10990 Wilshire Boulevard, 8th Floor                1901 L St. NW
  Los Angeles, CA 90024                              Washington, DC 20036
  Telephone: (310) 396-9600                          Telephone: (202) 282-5785
  gwade@mjfwlaw.com                                  jrosenthal@winston.com


        4.      Good Faith. The Parties acknowledge that each intends to implement the
 Agreement. The Parties have at all times acted in good faith and shall continue to, in good faith,
 cooperate and assist with and undertake all reasonable actions and steps in order to accomplish all
 required events on the schedule set by the Court, and shall use reasonable efforts to implement all
 terms and conditions of this Agreement.

         5.      Binding on Successors. This Agreement shall be binding upon and inure to the
 benefit of the heirs, successors, assigns, executors, and legal representatives of the Parties to the
 Agreement and the Released Parties.


                                            Page 25 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 27Page
                                                              of 4127PageID
                                                                      of 41 #: 2407

                                               Settlement Agreement in Gilmore et al. v. Monsanto


         6.      Arm’s-Length Negotiations. The Agreement compromises Claims that are
 contested, and the Parties agree that the consideration provided to the Settlement Class and other
 terms of the Agreement were negotiated in good faith and at arm’s length by the Parties, and reflect
 an Agreement that was reached voluntarily, after consultation with competent legal counsel, and
 guided in part by the Parties’ earlier private mediation session with Judge Diane Welsh, an
 experienced mediator. The determination of the terms of, and the drafting of, this Agreement, has
 been by mutual agreement after negotiation, with consideration by and participation of all Parties
 hereto and their counsel. Accordingly, the rule of construction that any ambiguities are to be
 construed against the drafter shall have no application. All Parties agree that this Agreement was
 drafted by Class Counsel and Monsanto’s counsel at arm’s length, and that no parol or other
 evidence may be offered to explain, construe, contradict, or clarify its terms, the intent of the
 Parties or their attorneys, or the circumstances under which the Agreement was negotiated, made,
 or executed.

         7.    Waiver. The waiver by one Party of any provision or breach of this Agreement shall
 not be deemed a waiver of any other provision or breach of this Agreement.

          8. Modification in Writing Only. This Agreement and any and all parts of it may be
 amended, modified, changed, or waived only by an express instrument in writing signed by the
 Parties.

         9.      Headings. The descriptive headings of any paragraph or sections of this Agreement
 are inserted for convenience of reference only and do not constitute a part of this Agreement.

        10.     Governing Law. This Agreement shall be interpreted, construed, and enforced
 according to the laws of the State of Delaware, without regard to conflicts of law.

         11.     Continuing Jurisdiction. After entry of the Judgment, the Court shall have
 continuing jurisdiction over the Action solely for purposes of (i) enforcing this Agreement,
 (ii) addressing settlement-administration matters, and (iii) addressing such post-Judgment matters
 as may be appropriate under court rules or applicable law, including under the All Writs Act.

         12.    Agreement Constitutes a Complete Defense. To the extent permitted by law, this
 Agreement may be pleaded as a full and complete defense to, and may be used as the basis for an
 injunction against, any action, suit, or other proceeding that may be instituted, prosecuted, or
 attempted in breach of or contrary to this Agreement.

         12.    Execution. This Agreement may be executed in one or more counterparts. All
 executed counterparts and each of them will be deemed to be one and the same instrument.
 Photocopies and electronic copies (e.g., PDF copies) shall be given the same force and effect as
 original signed documents.


 IN WITNESS WHEREOF, each of the undersigned, being duly authorized, have caused this
 Agreement to be executed on the dates shown below and agree that it shall take effect on that date
 upon which it has been executed by all the undersigned.



                                           Page 26 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 28Page
                                                              of 4128PageID
                                                                      of 41 #: 2408

                                           Settlement Agreement in Gilmore et al. v. Monsanto



       _____________________________ Date: June __, 2021
       SCOTT GILMORE


       _____________________________ Date: June __, 2021
       SHERRY HANNA


       _____________________________ Date: June __, 2021
       PAUL TAYLOR


       _____________________________ Date: June __, 2021
       JAMES WEEKS


       _____________________________ Date: June __, 2021
       KRISTY WILLIAMS


       _____________________________ Date: June __, 2021
       AMANDA BOYETTE


       _____________________________ Date: June __, 2021
       JULIO EZCURRA


       _____________________________ Date: June __, 2021
       ANTHONY JEWELL




       THE MONSANTO COMPANY


       ___________________________

       BY: John J. Rosnethal on behalf
       of Monsanto Company

       Date: June 9, 2021



                                         Page 27 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 29Page
                                                              of 4129PageID
                                                                      of 41 #: 2409

                                        Settlement Agreement in Gilmore et al. v. Monsanto



       _____________________________ Date: June __, 2021
       SCOTT GILMORE


       _____________________________ Date: June __, 2021
       SHERRY HANNA


       _____________________________ Date: June __, 2021
       PAUL TAYLOR


       _____________________________ Date: June __, 2021
       JAMES WEEKS


       _____________________________ Date: June __, 2021
       KRISTY WILLIAMS


       _____________________________ Date: June __, 2021
       AMANDA BOYETTE


       _____________________________ Date: June __, 2021
       JULIO EZCURRA


       _____________________________ Date: June __, 2021
       ANTHONY JEWELL




       THE MONSANTO COMPANY


       /s/___________________________

       BY:__________________________

       TITLE:_______________________

       Date: June __, 2021


                                    Page 27 of 31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 30Page
                                                              of 4130PageID
                                                                      of 41 #: 2410
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 31Page
                                                              of 4131PageID
                                                                      of 41 #: 2411
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
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                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 32Page
                                                              of 4132PageID
                                                                      of 41 #: 2412
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                             Filed 07/28/21
                                                      Page 33Page
                                                              of 4133PageID
                                                                      of 41 #: 2413
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                      Filed 06/14/21
                                             Filed 07/28/21
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                                                              of 4134PageID
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                                                                          Settlement Agreement   in Gilmore et al. v. Monsanto



        ____________                                                      Date: June _, 2021
        SCOTT GILMORE


        ________                                      ----                Date: June _, 2021
        SHERRY HANNA


        ____________                                                      Date: June _, 2021
        PAUL TAYLOR


        ____________                                                      Date: June _, 2021
        JAMES WEEKS


        ____________                                                      Date: June _, 2021
        KRISTY WILLIAMS


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        ____________                                                      Date: June _, 2021
        JULIO EZCURRA


        ____________                                                      Date: June _, 2021
        ANTHONY JEWELL




        THE MONSANTO COMPANY


        Is/                                                           _

        BY:.                                                          _

        TITLE:.                                                   _

        Date: June _, 2021


                                                                      Page 27 of31
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 35Page
                                                              of 4135PageID
                                                                      of 41 #: 2415
Case 1:20-cv-01085-MN
        Case MDL No. 2741
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                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 36Page
                                                              of 4136PageID
                                                                      of 41 #: 2416
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
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                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 37Page
                                                              of 4137PageID
                                                                      of 41 #: 2417

                                      Settlement Agreement in Gilmore et al. v. Monsanto




                                   Page 28 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 38Page
                                                              of 4138PageID
                                                                      of 41 #: 2418

                                       Settlement Agreement in Gilmore et al. v. Monsanto


       MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP
       Gillian L. Wade


       _____________________________ Date: June 9, 2021
       GILLIAN L. WADE
       10990 Wilshire Boulevard, 8th Floor
       Los Angeles, CA 90024

       WINSTON & STRAWN LLP
       John J. Rosenthal:


       _____________________________ Date: June 9, 2021
       JOHN J. ROSENTHAL
       1901 L. St. NW
       Washington, DC 20036




                                    Page 29 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 39Page
                                                              of 4139PageID
                                                                      of 41 #: 2419

                                           Settlement Agreement in Gilmore et al. v. Monsanto



                                            EXHIBIT A

       Products

       Roundup® Ready-to-Use Weed & Grass Killer (all sizes, applicators, and varieties)
       Roundup® Ready-to-Use Weed & Grass Killer Plus (all sizes, applicators, and varieties)
       Roundup® Weed & Grass Killer Concentrate Plus (all sizes and varieties)
       Roundup® Weed & Grass Killer Super Concentrate (all sizes and varieties)
       Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer (all sizes and varieties)
       Roundup® Ready-to-Use Wild Blackberry Plus Vine and Brush Killer (all sizes and
       varieties)
       Roundup® Concentrate Poison Ivy Plus Tough Brush Killer (all sizes and varieties)
       Roundup® Concentrate Wild Blackberry Plus Vine and Brush Killer (all sizes and
       varieties)
       Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer
       (all sizes and varieties)
       Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer (all
       sizes and varieties)
       Roundup® Ready-to-Use Max Control 365 (all sizes and varieties)
       Roundup® Concentrate Max Control 365 (all sizes and varieties)
       Roundup® Weed & Grass Killer Sure Shot Foam (all sizes and varieties)
       Roundup® Precision Gel Weed & Grass Killer (all sizes and varieties)
       Roundup® Pro Concentrate (2.5 gal.)
       HDX® Weed & Grass Killer Ready-to-Use (all sizes and varieties)
       HDX® Weed & Grass Killer Concentrate (all sizes and varieties)
       Ace® Ready-to-Use Weed & Grass Killer (all sizes and varieties)
       Ace® Weed & Grass Killer Concentrate (all sizes and varieties)




                                        Page 30 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 40Page
                                                              of 4140PageID
                                                                      of 41 #: 2420

                                               Settlement Agreement in Gilmore et al. v. Monsanto


                                                EXHIBIT B

       Class Period for Each State/Territory

                         State or Territory        Beginning of Class
                                                         Period
                        Alabama                  February 2017
                        Alaska                   February 2017
                        American Samoa           February 2018
                        Arizona                  February 2017
                        Arkansas                 February 2016
                        California               August 2015
                        Colorado                 February 2018
                        Connecticut              February 2016
                        Delaware                 February 2017
                        District of              February 2017
                        Columbia
                        Florida                  February 2016
                        Georgia                  October 2016
                        Guam                     August 2016
                        Hawaii                   February 2017
                        Idaho                    February 2017
                        Illinois                 February 2017
                        Indiana                  February 2017
                        Iowa                     February 2017
                        Kansas                   December 2015
                        Kentucky                 February 2017
                        Louisiana                February 2017
                        Maine                    February 2015
                        Maryland                 August 2016
                        Massachusetts            October 2016
                        Michigan                 October 2014
                        Minnesota                December 2013
                        Mississippi              February 2015
                        Missouri                 August 2014
                        Montana                  February 2017
                        Nebraska                 February 2017
                        Nevada                   October 2016
                        New Hampshire            February 2017
                        New Jersey               November 2014
                        New Mexico               February 2017
                        New York                 June 2011
                        North Carolina           February 2017
                        North Dakota             February 2015


                                         Page 31 of 32
Case 1:20-cv-01085-MN
        Case MDL No. 2741
                       Document
                           Document
                                26-1 2400-5
                                      Filed 06/14/21
                                             Filed 07/28/21
                                                      Page 41Page
                                                              of 4141PageID
                                                                      of 41 #: 2421

                                        Settlement Agreement in Gilmore et al. v. Monsanto


                     Northern Mariana     February 2015
                     Islands
                     Ohio                 February 2017
                     Oklahoma             November 2015
                     Oregon               November 2015
                     Pennsylvania         February 2015
                     Puerto Rico          December 2019
                     Rhode Island         February 2017
                     South Carolina       February 2015
                     South Dakota         February 2017
                     Tennessee            February 2017
                     Texas                March 2016
                     Utah                 February 2016
                     Vermont              November 2013
                     Virgin Islands       February 2015
                     Virginia             September 2016
                     Washington           February 2017
                     West Virginia        February 2017
                     Wisconsin            February 2015
                     Wyoming              February 2017




                                   Page 32 of 32
